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UNITED STATES DISTRICT COURT
Southern District of Florida

Case No.: 1:11-CV-21803
Civil Division

GAVIN D. MCKENZIE,
Plaintiff,
v.
UNITED STATES OF AMERICA,

Defendant.
ii

PLAINTIFF’S NOTICE OF SERVING ANSWERS AND/OR RESPONSES TO EXPERT
WITNESS INTERROGATORIES AND REQUEST FOR PRODUCTION PROPOUNDED
BY DEFENDANT, UNITED STATES OF AMERICA

COMES NOW, the Plaintiff, GAVIN D. MCKENZIE, by and through the undersigned
attorney, and notifies all parties of its original answers and/or responses to Expert Witness

Interrogatories and Request for Production propounded by Defendant, UNITED STATES OF

AMERICA, on August 3, 2011.

DATED this 16'" day of August, 2011,

By:___/s/ Brett M. Rosen
Brett M. Rosen, Esq.
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 16" day of August 2011, I electronically filed the
foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
document is being served this day on the attached service list, either via transmission of Notices
of Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel
or parties who are not authorized to receive Notices of Electronic Filing.

By:___/s/ Brett M. Rosen
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SERVICE LIST

GAVIN D. MCKENZIE versus UNITED STATES OF AMERICA
CASE NO. 1:11-CV-21803
United States District Court, Southern District of Florida

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PLAINTIFF’S ANSWERS AND/OR RESPONSES TO EXPERT WITNESS
INTERROGATORIES AND REQUEST FOR PRODUCTION PROPOUNDED BY
DEFENDANT, UNITED STATES OF AMERICA

Answer to Expert Witness Interrogatory No.1:
Undetermined at this time as discovery has Just commenced. However, Plaintiff will
disclose their expert witnesses in accordance with the Court’s trial order and/or expert
witness discovery disclosures. Please note that Plaintiff is being treated by Dr. Stephen
Wender and Dr. Seth Kaufman. These are not “experts”, but are his as treating
physicians and are not subject to these interrogatories.

Answer to Expert Witness Interrogatory No.2:
Undetermined at this time as discovery has just commenced. However, Plaintiff will
disclose their expert witnesses in accordance with the Court’s trial order and/or expert
witness discovery disclosures. Please note that Plaintiff is being treated by Dr. Stephen
Wender and Dr. Seth Kaufman. These are not “experts”, but are his as treating
physicians and are not subject to these interrogatories.

Answer to Expert Witness Interrogatory No.3:
Undetermined at this time as discovery has just commenced. However, Plaintiff will
disclose their expert witnesses in accordance with the Court’s trial order and/or expert
witness discovery disclosures. Please note that Plaintiff is being treated by Dr. Stephen
Wender and Dr. Seth Kaufman. These are not “experts”, but are his as treating
physicians and are not subject to these interrogatories.

Response to Expert Witness Request for Production No.1:
Undetermined at this time as discovery has just commenced. However, Plaintiff will
disclose their expert witnesses in accordance with the Court’s trial order and/or expert
witness discovery disclosures. Please note that Plaintiff is being treated by Dr. Stephen
Wender and Dr. Seth Kaufman. These are not “experts”, but are his as treating
physicians and are not subject to these interrogatories.

Response to Expert Witness Request for Production No.2:
Undetermined at this time as discovery has just commenced. However, Plaintiff will
disclose their expert witnesses in accordance with the Court’s trial order and/or expert
witness discovery disclosures. Please note that Plaintiff is being treated by Dr. Stephen
Wender and Dr. Seth Kaufman. These are not “experts”, but are his as treating
physicians and are not subject to these interrogatories,

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